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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      07-21M
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    CELSO LOPEZ-ROJO,            )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count I:      Conspiracy to Distribute Methamphetamine, in violation of Title 21,
18                          U.S.C., Sections 841(a)(1), 841(b)(1)(A), and 846
19   Date of Detention Hearing: January 25, 2007
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21   U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22   hereafter set forth, finds that no condition or combination of conditions which the defendant
23   can meet will reasonably assure the appearance of the defendant as required and the safety
24   of any other person and the community. The Government was represented by Susan Roe.
25   The defendant was represented by Kenneth Kanev.
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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause found in the Complaint (preliminary hearing is
 3               pending) to believe the defendant committed the drug offense. The
 4               maximum penalty is in excess of ten years. There is therefore a
 5               rebuttable presumption against the defendant’s release based upon both
 6               dangerousness and flight risk, under Title 18 U.S.C. § 3142(e).
 7         (2)   Nothing in this record satisfactorily rebuts the presumption against
 8               release for several reasons. Under Title 18 § 3142 (g), the Court
 9               considered the following:
10               (a)    The nature and circumstances of the offense charged, including
11                      whether the offense is a crime of violence or involves a narcotic
12                      drug. Here the offense alleges that the defendant participated in a
13                      conspiracy to distribute cocaine, thereby involving more than one
14                      person in the illegal activity.
15               (b)    The weight of the evidence. Federal agents witnessed the
16                      defendant’s involvement in a hand-to-hand delivery of cocaine.
17               (c)    The history and characteristics of the person. The defendant
18                      appears to only have ties to this jurisdiction for the purpose of
19                      facilitating the distribution of cocaine. The residence is in the
20                      name of his sister, although he and his girlfriend reside there. A
21                      handgun was found in the same residence, although there appears
22                      to be no record of his lawful ownership of the gun. He has no
23                      current lawful employment.
24               (d)    Risk of danger to the community. Risk to the community is
25                      inherent in the nature of the drug conspiracy. Here the defendant
26                      and his brother resided in the same apartment complex and in

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 1                         nearby apartments. Federal agents often observed both men
 2                         traveling between the two apartments, thereby increasing the
 3                         likelihood of danger to other residents.
 4   Based upon the foregoing information, it appears that there is no condition or
 5   combination of conditions that would reasonably assure future Court appearances and/or
 6   the safety of other persons or the community.
 7           It is therefore ORDERED:
 8           (l)    The defendant shall be detained pending trial and committed to the
 9                  custody of the Attorney General for confinement in a correction facility
10                  separate, to the extent practicable, from persons awaiting or serving
11                  sentences or being held in custody pending appeal;
12           (2)    The defendant shall be afforded reasonable opportunity for private
13                  consultation with counsel;
14           (3)    On order of a court of the United States or on request of an attorney for
15                  the Government, the person in charge of the corrections facility in which
16                  the defendant is confined shall deliver the defendant to a United States
17                  Marshal for the purpose of an appearance in connection with a court
18                  proceeding; and
19           (4)    The clerk shall direct copies of this order to counsel for the United
20                  States, to counsel for the defendant, to the United States Marshal, and to
21                  the United States Pretrial Services Officer.
22           DATED this 26th day of January, 2007.


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                                                       MONICA J. BENTON
25
                                                       United States Magistrate Judge
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